Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 1 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 2 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 3 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 4 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 5 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 6 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 7 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 8 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 9 of 10
Case 2:21-cr-00264-JJT Document 3 Filed 03/17/21 Page 10 of 10
